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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                Plaintiff,                         §
                                                   §
 v.                                                §     CRIMINAL ACTION NO. 4:07CR247
                                                   §
 JEREMY HARRISON (4),                              §
                                                   §
                Defendant.                         §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Now before the Court is the request for revocation of Defendant’s supervised release. After

 the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on February 2, 2018, to determine whether Defendant violated his supervised

 release. Defendant was represented by Robert Arrambide. The Government was represented by

 Chris Eason.

        On February 9, 2009, Defendant was sentenced by the Honorable United States District

 Judge Marcia Crone of the Eastern District of Texas after pleading guilty to the offense of

 Conspiracy to Manufacture, Distribute or Possess with Intent to Manufacture, Distribute or

 Dispense Cocaine Base, a Class A felony. This offense carried a statutory minimum sentence of

 ten (10) years and a maximum imprisonment term of life. The guideline imprisonment rage, based

 on a total offense level of 29 and a criminal history category of III was 120 to 135 months. Jeremy

 Harrison was subsequently sentenced to 120 months imprisonment followed by five (5) year term

 of supervised release subject to the standard conditions of release, plus special conditions to

 include submission of financial information, substance abuse testing and treatment, and a $100

 special assessment. On March 27, 2015, Jeremy Harrison completed his period of imprisonment

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 and began service of the supervision term. On January 14, 2015, this case was reassigned to the

 Honorable Amos L. Mazzant, United States District Judge for the Eastern District of Texas.

        On January 23, 2018, the United States Probation Officer executed a Petition for Warrant

 or Summons for Offender Under Supervision [Dkt. 537 Sealed]. The Petition asserted that

 Defendant violated three (3) conditions of supervision, as follows: (1) Defendant shall not refrain

 from any unlawful use of a controlled substance; (2) Defendant shall refrain from excessive use of

 alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or

 any paraphernalia related to any controlled substances, except as prescribed by a physician; and

 (3) Defendant shall participate in a program of testing and treatment for drug abuse, under the

 guidance and direction of United States Probation Office, until such time as the Defendant is

 released from the program by the probation officer.

        The Petition alleges that Defendant committed the following acts: (1) and (2) On June 13,

 2017, Defendant submitted a urine specimen at the United States Probation Office, which tested

 positive for marijuana. He signed an admission form whereby he admitted to use and it was not

 sent to the lab for testing. On June 20, 2017, Defendant submitted a urine specimen at McCary

 Counseling Services, in Denton, Texas, which tested positive for marijuana. Lab results confirmed

 said use. On November 3, 2017, Defendant submitted a urine specimen at the United States

 Probation Office, which was confirmed positive for marijuana. He signed an admission form

 admitting to use and lab results confirmed said use. Furthermore, the specimen was diluted. On

 December 4, 2017, Defendant submitted a urine specimen at McCrary Counseling Services, in

 Denton, Texas, which tested positive for marijuana. Lab results confirmed said use. Furthermore,

 the specimen collected on December 4, 2017 was diluted and not consistent with normal human

 urine; and (3) As part of the United States Probation Officer’s random drug testing program,



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 Defendant failed to submit a urine specimen at McCrary Counseling in Denton, Texas, on July 10,

 August 31, 2017, and January 19, 2018.          Defendant also failed to attend substance abuse

 counseling at McCrary counseling on October 3, 2017, and January 2, 2018.

        Prior to the Government putting on its case, Defendant entered a plea of true to all three

 (3) allegations of the Petition. Having considered the Petition and the plea of true to allegations

 one (1), two (2), and three (3), the Court finds that Defendant did violate his conditions of

 supervised release.

        Defendant waived his right to allocate before the District Judge and his right to object to

 the report and recommendation of this Court.

                                         RECOMMENDATION

        Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant’s

 supervised release be revoked and that he be committed to the custody of the Bureau of Prisons to

 be imprisoned for a term of eight (8) months, with no term of supervised release to follow.

        The Court also recommends that Defendant be housed in the Bureau of Prisons North

 Texas area facility, if appropriate.

        SIGNED this 5th day of February, 2018.




                                        ___________________________________
                                        Christine A. Nowak
                                        UNITED STATES MAGISTRATE JUDGE




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